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                        UNITED STATES DISTRICT COURT
                                                  for the
                                       Southern District of Illinois

              GERRY ARMBRUSTER                      )
                     Plaintiff(s)                   )
                         v.                         )       Case Number: 16-cv-544-MJR-SCW
                  IDOC, et al.,                     )
                    Defendant(s)                    )


                                    ENTRY OF APPEARANCE
          To the Clerk of Court and all parties of record:

               I hereby enter my appearance as counsel for             GERRY ARMBRUSTER,
          PLAINTIFF



          DATED: September 5, 2019

                                                            s/ Julia Rickert
                                                            ________________________________
                                                            Signature

                                                            Julia Rickert
                                                            ________________________________
                                                            Name

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  Rev. 2/11
